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																			2018 Opinion and Summaries

									
				
			

										
		
	

				
				
			

					
			2018 OpinionsWeb Editor2018-10-22T08:00:27+00:00																			
			
				
					
						DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.

October
October 22, 2018&nbsp;&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G2021. RUTH et al. v. CHEROKEE FUNDING, LLC et al.
S18A0670. McGEE v. THE STATE
S18A0775. JONES v. THE STATE
S18A0804. HINTON v. THE STATE
S18A0805. JOHNSON v. THE STATE
S18A0894. ABEBE v. THE STATE
S18A0979. BISHOP v. THE STATE
S18A1171. RIVERA v. THE STATE
S18A1494. FOSTER v. THE STATE
S18P0915. WILLIS v. THE STATE
S18Y1513. IN THE MATTER OF WILLIAM L. KIRBY
S19Y0032. IN THE MATTER OF DENISE F. HEMMANN
S19Y0099. IN THE MATTER OF RICHARD ALLEN HUNT
S19Y0155. IN THE MATTER OF ANTHONY EUGENE CHEATHAM

October
October 9 2018&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0585. THE STATE v. ALMANZA
S18A0669. CATO v. THE STATE
S18A0728. MCWILLIAMS v. THE STATE
S18A0784. GRAMIAK, WARDEN v. BEASLEY
S18A0851, S18X0852. THE STATE v. HOLMES (and vice versa)
S18A0959. LORD v. THE STATE
S18A1025. KIDD v. THE STATE
S18A1169. DAVIS v. THE STATE

September
September 24, 2018&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18A0933, S18A0934. DAVIDSON v. THE STATE (two cases)
S18A0936. KIRBY. v. THE STATE
S18A0627. FELTON v. THE STATE


September
September 10, 2018&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G1875. WITHERS et al. v. SCHROEDER
S18A0624. REED v. THE STATE
S18A0711. KENNEBREW v. THE STATE
S18A0725. RAINES v. THE STATE
S18A0770. THE STATE v. ATKINS
S18A0803. GEORGIA DEPARTMENT OF HUMAN SERVICES et al. v. ADDISON et al.
S18A1014. BROWN v. THE STATE
S18A1410. BENNEFIELD v. THE STATE
S18Y0666. IN THE MATTER OF DAVID THOMAS DORER
S18Y1023. IN THE MATTER OF MATTHEW THOMAS DALE
S18Z0774. IN THE MATTER OF HARRIET O’NEAL


August
August 28, 2018

S19Y0074. IN THE MATTER OF NANCY JEAN MARTIN-VEATOR&nbsp; Reinstatement issued.


August
August 27, 2018&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G1949. COATES v. STATE
S17G2008. CITY OF COLLEGE PARK et al. v. MARTIN
S18A0636. STALLWORTH v. THE STATE
S18A0765. DELAY et al. v. SUTTON, COMMISSIONER
S18A0797. WILLIAMS v. THE STATE
S18A0818. SESSIONS v. THE STATE
S18A0824. KING v. THE STATE
S18A0861. GUFFIE v. THE STATE
S18A0957. THE STATE v. TURNER
S18A1138. SLOANS v. THE STATE
S18A1277. JOHNSON v. THE STATE
S18Y1378. IN THE MATTER OF ANDREW BENNET KOPLAN
S18Y1511. IN THE MATTER OF SCOTT L. PODVIN
S18Z0388. IN THE MATTER OF JOHN ANTHONY MONESANTI


August
August 20, 2018&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G1957. PATTERSON et al. v. KEVON, LLC
S17G1996. ATKINS v. THE STATE
S18A0595. STRIBLING v. THE STATE
S18A0632. SCHOICKET v. THE STATE
S18A0637. DELANEY v. THE STATE
S18A0703. THE STATE v. HERRERA-BUSTAMANTE
S18A0732. THORPE v. THE STATE
S18A0777. FRISBY v. THE STATE
S18A0796. GREEN v. THE STATE
S18A0826. HARRIS v. THE STATE
S18A0827. HALL v. THE STATE
S18A0845. KENNEDY v. THE STATE
S18A0855. McCULLOUGH v. THE STATE
S18A0886. HAWKINS v. THE STATE
S18A0887. WITHERSPOON v. THE STATE
S18A0902. STARKS v. THE STATE
S18A0949. PARKS v. THE STATE
S18A1026. JONES V. THE STATE
S18Y0982. IN THE MATTER OF NATHANIEL ANTONIO BARNES
S18Y1385. IN THE MATTER OF RICARDO L. POLK

August
August 14, 2018

S18A0748. MERCER v. JOHNSON, WARDEN
S18Q0757. NATIONAL CASUALTY COMPANY v. GEORGIA SCHOOL BOARDS ASSOCIATION-RISK MANAGEMENT FUND

August
August 2, 2018

S17G1894. CARPENTER v. MCMANN et al.
S18A0846. MANGRAM v. THE STATE


June
June 29, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G1021. TENET HEALTH SYSTEM GB, INC. v. THOMAS
S17G1270. WINFREY v. THE STATE
S17G1375. COEN v. CDC SOFTWARE CORPORATION et al.&nbsp;
S17G1391. IN THE INTEREST OF I. L. M. et al., children
S18A0035. WILLIS v. THE STATE
S18A0176. STRIPLING v. THE STATE
S18A0277. BREWER v. THE STATE
S18A0412. PATTEN v. ARDIS
S18A0497. THOMPSON v. THE STATE
S18A0541. MENZIES v. THE STATE
S18Z1333. INQUIRY CONCERNING JUDGE EDDIE ANDERSON

June
June 22, 2018

S16Y1178. IN THE MATTER OF BONNIE MONIQUE YOUN&nbsp; Reinstatement issued.

June
June 18, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G0706.&nbsp; GEORGIA POWER COMPANY v. CAZIER et al.
S17G1676, S17G1677.&nbsp; CAMPAIGN FOR ACCOUNTABILITY v. CONSUMER CREDIT RESEARCH FOUNDATION (two cases)
S17G1788.&nbsp; COLONIAL OIL INDUSTRIES, INC. v. LYNCHAR, INC.
S18A0028.&nbsp; WARE v. THE STATE
S18A0100.&nbsp; CARR v. THE STATE
S18A0123.&nbsp; GADSON v. THE STATE
S18A0130.&nbsp; MCGOUIRK v. THE STATE&nbsp;
S18A0268.&nbsp; DUPREE v. THE STATE
S18A0281.&nbsp; GEORGIA DEPARTMENT OF HUMAN SERVICES, DIVISION OF FAMILY AND CHILDREN SERVICES v. STEINER
S18A0313.&nbsp; COPE v. THE STATE
S18A0327.&nbsp; WADE v. THE STATE
S18A0430.&nbsp; CLAYTON COUNTY BOARD OF ASSESSORS v. ALDEASA ATLANTA JOINT VENTURE
S18A0496.&nbsp;&nbsp; MAXIM CABARET, INC. et al. v. CITY OF SANDY SPRINGS
S18A0586.&nbsp; CARMAN v. THE STATE
S18A0594.&nbsp; ABRAMS v. LAUGHLIN, WARDEN et al.
S18A0619.&nbsp; TAYLOR v. THE STATE
S18A0640.&nbsp; CALDWELL v. THE STATE
S18A0779.&nbsp; MITCHELL v. THE STATE
S18A0841.&nbsp; RICKMAN v. THE STATE
S18A0998.&nbsp; BALLARD v. THE STATE&nbsp;
S18Q0075.&nbsp; BIBBS et al. v. TOYOTA MOTOR CORPORATION et al.
S18Y0993.&nbsp; IN THE MATTER OF GARY LANIER COULTER



June
June 15, 2018

S11Y0601. IN THE MATTER OF JENNIFER DAWN LEDOUX&nbsp; Reinstatement issued.

&nbsp;
June
June 4, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18C0437.&nbsp; TUCKER v. ATWATER et al.
S17G1478.&nbsp; MONDY et al. v. MAGNOLIA ADVANCED MATERIALS, INC.
S17G1500.&nbsp; HOECHSTETTER et al. v. PICKENS COUNTY et al.
S18A0147, S18A0148.&nbsp; NALLS v. THE STATE (two cases)
S18A0478.&nbsp; TERRELL v. THE STATE
S18A0799.&nbsp; GARNER v. THE STATE
S18Y0717.&nbsp; IN THE MATTER OF SHANNON BRILEY-HOLMES
S18Y0833, S18Y0834, S18Y0835, S18Y0836, S18Y0837.&nbsp; IN THE MATTER OF S. QUINN JOHNSON (five cases)
S18Y0921.&nbsp; IN THE MATTER OF GEORGE W. SNIPES
S18Y1161.&nbsp; IN THE MATTER OF CLAUD L. MCIVER, III
S18Y1167.&nbsp; IN THE MATTER OF PRINCE A. BRUMFIELD, JR.

May
May 21, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G1333.&nbsp; THE STATE v. DAVIS&nbsp;
S17G1485.&nbsp; WORKMAN et al. v. RL BB ACQ I-GA CVL, LLC et al.
S18A0003.&nbsp; THOMAS v. THE STATE
S18A0017.&nbsp; JOHNSON v. THE STATE
S18A0114.&nbsp; JORDAN v. THE STATE
S18A0132.&nbsp; GORDON v. CALDWELL
S18A0203.&nbsp; PUCKETT v. THE STATE
S18A0369.&nbsp; MANNING v. THE STATE
S18A0393.&nbsp; BROCK v. HARDMAN
S18A0453.&nbsp; FAUST v. THE STATE
S18A0426.&nbsp; PALMER v. THE STATE 6-18-2018 Substitute opinion issued.
S18A0461.&nbsp; SZORCSIK v. THE STATE
S18A0509.&nbsp; MOORE v. THE STATE
S18Y0680.&nbsp; IN THE MATTER OF JERRY RICARDO CALDWELL
S18Y0794.&nbsp; IN THE MATTER OF SHANNON DEWAYNE PATTERSON&nbsp;
S18Y1037.&nbsp; IN THE MATTER OF RAYMOND JUIWEN HO



May
May 7, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G1344.&nbsp; IN THE INTEREST OF K.S., a child
S17G1472.&nbsp; IN RE ESTATE OF GLADSTONE
S17G1530.&nbsp; MCCOY v. THE STATE 
S18A0012.&nbsp; RICKS v. THE STATE
S17G1691.&nbsp; CAFFEE v. THE STATE&nbsp;
S18A0012. RICKS v. THE STATE
S18A0018.&nbsp; PUTNAL v. THE STATE
S18A0038.&nbsp; TAYLOR v. THE STATE 
S18A0052.&nbsp; HOLT, WARDEN v. EBINGER
S18A0062.&nbsp; McGRUDER v. THE STATE
S18A0063.&nbsp; SIMPKINS v. THE STATE
S18A0113.&nbsp; YARBROUGH v. THE STATE
S18A0121.&nbsp; DORSEY v. THE STATE
S18A0194.&nbsp; WINSTON v. THE STATE
S18A0201.&nbsp; BLOUNT v. THE STATE
S18A0241.&nbsp; FLOWERS v. THE STATE 5-9-2018 Substitute opinion issued.
S18A0262.&nbsp; BROWN v. THE STATE
S18A0274.&nbsp; USHER v. THE STATE
S18A0276.&nbsp; TAYLOR v. THE STATE
S18A0331.&nbsp; NORMAN v. THE STATE
S18A0333.&nbsp; SMITH v. THE STATE
S18A0347.&nbsp; WARBINGTON v. THE STATE
S18A0354.&nbsp; SLATON v. THE STATE
S18A0427.&nbsp; WATSON v. THE STATE
S18A0505.&nbsp; REIS et al. v. OOIDA RISK RETENTIONGROUP, INC. et al.
S18A0528.&nbsp; LEANOS v. THE STATE
S17Y1993.&nbsp; IN THE MATTER OF EDWARD NEAL DAVIS
S18Y0456, S18Y0457, S18Y0458.&nbsp; IN THE MATTER OF RONALD JOHN DOEVE (three cases)
S18Y0740.&nbsp; IN THE MATTER OF RICARDO L. POLK &nbsp;
S18Y0821.&nbsp; IN THE MATTTER OF DAVID E. MORGAN, III


April
April 13, 2018 

S18Y1038. IN THE MATTER OF LAXAVIER P. REDDICK-HOOD&nbsp; Reinstatement issued.


April
April 16, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G1256.&nbsp; NEW CINGULAR WIRELESS PCS, LLC et al. v. GEORGIA DEPARTMENT OF REVENUE et al.
S17G1343.&nbsp; GIBBS v. THE STATE
S18A0001.&nbsp; WILLIAMS v. THE STATE
S18A0091.&nbsp; RUSSELL v. THE STATE
S18A0116.&nbsp; RHODEN v. THE STATE
S18A0127.&nbsp; JACKSON v. THE STATE
S18A0128.&nbsp; WHITLOCK v. WHITLOCK
S18A0193.&nbsp; MITCHELL v. THE STATE
S18A0263.&nbsp; JONES v. THE STATE
S18A0272.&nbsp; SNELSON v. THE STATE
S18A0314.&nbsp; MEADOWS v. THE STATE
S18A0346.&nbsp; SOTO v. THE STATE
S18A0382.&nbsp; HENDRIX v. THE STATE
S18A0421.&nbsp; STEPHENS v. THE STATE
S18A0429.&nbsp; WHITE v. THE STATE
S18Y0158, S18Y0159.&nbsp; IN THE MATTER OF MIGUEL ANGEL GARCIA, JR. (two cases)
S18Y0601, S18Y0602.&nbsp; IN THE MATTER OF GREGORY REECE BARTON (two cases)
S18Y0694.&nbsp; IN THE MATTER OF JOHN BENNETH IWU



April
April 13, 2018 

S14Y0319. IN THE MATTER OF ROBERT BRUCE RICHBOURG&nbsp; Reinstatement issued.


March&nbsp;
March 15, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G0654.&nbsp; COOPER TIRE &amp; RUBBER COMPANY v. KOCH et al.
S17G0739.&nbsp; THE STATE v. HUDSON
S17G0832.&nbsp; CHRYSLER GROUP LLC v. WALDEN et al.
S17A1583.&nbsp; THE STATE v. ABBOTT
S17A1709.&nbsp; GRAVES v. THE STATE
S17A1717.&nbsp; STATE OF GEORGIA v. ADUKA
S17A1743.&nbsp; JENKINS v. THE STATE
S17A1878, S17X1879.&nbsp; CITY OF UNION POINT et al. v. GREENE COUNTY et al. (and vice versa) 3-29-2018 Substitute opinion issued.
S17A1903.&nbsp; ROBINSON v. THE STATE
S17A1994.&nbsp; MCKOY v. THE STATE


March
March 5, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS
&nbsp;SUMMARY for&nbsp;S17A1905.&nbsp; OWENS v. THE STATE 

S17G0541.&nbsp; LUCAS v. BECKMAN COULTER, INC.
S17G0732, S17G0733, S17G0737.&nbsp; SOUTHEASTERN PAIN SPECIALISTS, P.C. v. BROWN (three cases)
S17G0884.&nbsp; WALSH v. THE STATE
S17A1348.&nbsp; DOUGLAS v. STATE
S17A1349.&nbsp; GREENE v. THE STATE
S17A1370.&nbsp; PEREZ v. THE STATE
S17A1402.&nbsp; MORRIS v. THE STATE
S17A1417.&nbsp; TANNER v. THE STATE
S17A1464.&nbsp; GALLEMORE v. WHITE
S17A1488.&nbsp; PETERSON et al. v. PETERSON et al.
S17A1549.&nbsp; ELLER v. THE STATE
S17A1555.&nbsp; BYRON v. THE STATE
S17A1597.&nbsp; NATIONS v. THE STATE
S17A1627.&nbsp; TAYLOR v. THE STATE
S17A1662.&nbsp; RAMIREZ v. THE STATE
S17A1694.&nbsp; DOE v. THE STATE
S17A1722, S17A1723, S17A1724.&nbsp; ANTHONY v. THE STATE (three cases)&nbsp; 3-29-2018 Substitute opinion issued.
S17A1753.&nbsp; HOOD v. THE STATE&nbsp; 3-29-2018 Substitute opinion issued.
S17A1785.&nbsp; HENDERSON v. THE STATE
S17A1804.&nbsp; WXIA-TV et al. v. THE STATE et al.
S17A1892.&nbsp; JACOBS v. THE STATE
S17A1905.&nbsp; OWENS v. THE STATE
S18Y0348.&nbsp; IN THE MATTER OF SAM LOUIS LEVINE
S18Y0350.&nbsp; IN THE MATTER OF CHRISTOPHER AARON CORLEY
S18Y0383.&nbsp; IN THE MATTER OF ANDRE KEITH SANDERS
S18Y0559.&nbsp; IN THE MATTER OF WALTER LINTON MOORE



February
February 19, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G0199.&nbsp; THE STATE v. HARPER
S17A1354.&nbsp; NORWOOD v. THE STATE
S17A1357.&nbsp; BARNES et al. v. CHANNEL et al.
S17A1419.&nbsp; KENNEDY v. KOHNLE
S17A1468.&nbsp; MALVERTY v. THE STATE
S17A1525.&nbsp; ALLEN et al. v. BRYANT
S17Q1559.&nbsp; CAHILL v. UNITED STATES
S17A1585.&nbsp; LEEKS v. THE STATE
S17A1641.&nbsp; DENT v. THE STATE
S17A1646, S17A1647, S17A1648.&nbsp; KEMP v. THE STATE (three cases)
S17A1750.&nbsp; MORRISON v. THE STATE
S17A1873.&nbsp; DREWS v THE STATE
S17A1884.&nbsp; WINTERS v. THE STATE
S17A1911.&nbsp; LUCAS v. THE STATE
S17A1915.&nbsp; McCOY v. THE STATE
S18Y0315. IN THE MATTER OF NATALIE DAWN MAYS
S18Y0434. IN THE MATTER OF CHERYL JOYCE BRAZIEL
S18Y0511. IN THE MATTER OF DONALD EDWARD SMART


February
February 5, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G0501.&nbsp; TAYLOR v. THE STATE
S17A1453.&nbsp; ADAMS v. THE STATE&nbsp;
S17A1526.&nbsp; JONES v. THE STATE
S17A1578.&nbsp; MILLER v. THE STATE
S17A1582.&nbsp; BROWN v. THE STATE&nbsp; 3-5-2018 Substitute opinion issued.
S17A1599.&nbsp; FRANKLIN v. THE STATE&nbsp; 3-5-2018 Substitute opinion issued. 
S17A1634.&nbsp; McCLAIN v. THE STATE
S17A1748.&nbsp; GOODRUM v. THE STATE 3-15-2018 Substitute opinion issued.
S17A1756.&nbsp; WALTON v. THE STATE
S17A1758.&nbsp; VEAL v. THE STATE
S17A1854.&nbsp; STORK v. THE STATE
S17A1887.&nbsp; DE LA CRUZ v. THE STATE
S17A1900.&nbsp; WALLACE v. THE STATE
S17A1978.&nbsp; FLETCHER v. THE STATE
S17A2019.&nbsp; CALLOWAY v. THE STATE
S17Q1508.&nbsp; BLACH v. DIAZ-VERSON
S18Y0484.&nbsp; IN THE MATTER OF ADAM LORENZO SMITH


January
January 29, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G0433.&nbsp; SUNTRUST BANK v. LILLISTON et al.
S17G0641.&nbsp; BARNETT et al. v. CALDWELL
S17G0692.&nbsp; THE MAYOR AND ALDERMAN OF GARDEN CITY v. HARRIS et al.
S17G1097.&nbsp; BROWN et al. v. RAC ACCEPTANCE EAST, LLC
S17A1399.&nbsp; PROTHRO v. THE STATE 
S17A1421 – S17A1425.&nbsp; HALL COUNTY BOARD OF TAX ASSESSORS v. WESTREC PROPERTIES, INC. (five cases)&nbsp;
S17A1479, S17A1480.&nbsp; JOHNSON v. THE STATE (two cases)
S17A1495.&nbsp; BURKE v. THE STATE&nbsp;
S17A1516.&nbsp; WARE v. THE STATE
S17A1541.&nbsp; PIKE v. THE STATE
S17A1587.&nbsp; NORRIS v. THE STATE
S17A1588.&nbsp; WHITE v. THE STATE
S17A1728.&nbsp; ANDREWS v. THE STATE
S17A1755.&nbsp; BROWN v. THE STATE&nbsp;
S17A1847.&nbsp; BURR v. GREEN et al.
S17A1872.&nbsp; GREEN v. THE STATE&nbsp;&nbsp;
S17A1928, S17A1929.&nbsp; BLACKWELL v. THE STATE (two cases)
S17A1938.&nbsp; HARRIS v. THE STATE &nbsp;
S17A1992. THE STATE v. SMITH et al.
S17Y1329.&nbsp; IN THE MATTER OF RICKY W. MORRIS, JR.&nbsp;
S17Y1918.&nbsp; IN THE MATTER OF CLARENCE R. JOHNSON, JR.
S17Y2016.&nbsp; IN THE MATTER OF CAMERON SHAHAB
S18Y0142.&nbsp; IN THE MATTER OF ROBERT JUTZI HOWELL
S18Y0256.&nbsp; IN THE MATTER OF LARRY BUSH HILL
S18Y0264.&nbsp; IN THE MATTER OF CHRISTOPHER MARK MILLER
S18Y0269.&nbsp; IN THE MATTER OF LORNE HOWARD CRAGG
S18Y0387.&nbsp; IN THE MATTER OF RICHARD V. MERRITT

&nbsp;
January 16, 2018 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S16H1197.&nbsp; REDMON v. JOHNSON



					
				
							
																													
		
					
				  
			  
			
			
			
										
				
						
	
		
			
				
																									
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